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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CHIHULY, INC.,
                                                         Case No. 18-cv-6365
                       Plaintiff,
                                                         Honorable Judge Jorge L. Alonso
         v.

ECHT GALLERY CHICAGO, LLC, ECHT
GALLERY INC., KAREN ECHT,

                       Defendants.

                     ORDER FOR ENTRY OF DEFAULT JUDGMENT

       This matter coming before the Court on Plaintiff Chihuly Inc.’s Motion for Default
Judgment (Dkt. 15) and the Court having considered the Motion, the accompany Memorandum
in Support, affidavits, and exhibits, the filings and record in this case, and the arguments of
counsel, it is hereby ORDERED that the motion is GRANTED. The Court makes the following
findings:

       1.     The Court has subject-matter jurisdiction over this matter pursuant to 28 U.S.C.
§§ 1331, 1332(a) and 1338(a).

        2.       The Court has general personal jurisdiction over Defendant Karen Echt because
she is a citizen of and domiciled in the State of Illinois.

        3.      The Court has general personal jurisdiction over Defendants Echt Gallery
Chicago, LLC and Echt Gallery, Inc. because they have their principal places of business in, are
citizens of, and carry on a continuous and systematic business in the State of Illinois, such that
they should reasonably expect to be sued in court within the State of Illinois.

        4.       The Court also has specific personal jurisdiction over each of the Defendants
because the claims in Plaintiff’s Complaint arise out of sufficient minimum contacts with the
State of Illinois, including sales to Illinois customers.

        5.     Venue for this action is proper in the Northern District of Illinois pursuant to 28
U.S.C. § 1391(b) because a substantial part of the acts or omissions giving rise to the claims at
issue occurred in the Northern District of Illinois.

       6.      Defendants were properly served with the Summons and Complaint in this action
on September 21, 2018 (Dkt. 11-13). Thus, under Rule 12, they were required to file a
responsive pleading by October 12, 2018.

      7.      Defendants failed to appear or other otherwise respond to the Complaint by
October 12, 2018.



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        8.     On October 30, 2018, Plaintiff filed a Request for Clerk’s Entry of Default (Dkt.
14). On November 13, 2018, Plaintiff filed its Motion for Default Judgment, providing proper
service to Defendants’ last known addresses (Dkt. 15).

       9.      On November 20, 2018, the Court continued the hearing on this Motion for
Default Judgment for three weeks, until December 11, 2018, to give Defendants additional time
to appear (Dkt. 18). Copies of the Motion for Default Judgment were again served on
Defendants’ last known addresses (Dkt. 19).

      10.      Defendants have, to date, failed to appear or other otherwise respond to the
Complaint.

         11.     “On a motion for default judgment, a court takes all well-pleaded allegations as to
liability as true.” Envirogen Techs., Inc. v. Maxim Constr. Corp., Inc., 14 C 2090, 2016 WL
5720380, at *1 (N.D. Ill. Sept. 30, 2016) (citing Black v. Lane, 22 F.3d 1395, 1399 (7th Cir.
1994)).

       12.     Plaintiff has properly pleaded claims for Breach of Contract (Count I), Fraud
(Counts II and III), Copyright Infringement (Count VI), and Piercing the Corporate Veil (Count
VII). In particular, Plaintiff has properly pleaded that it was damaged by Defendants’ fraudulent
misrepresentations and omissions related to the installation of and payment for certain artwork.

       13.      Plaintiff has adequately proven its damages through affidavits and exhibits
attached to its Complaint and Memorandum in Support of Motion for Default judgment. Thus,
no hearing on damages is necessary.

        THEREFORE, pursuant to Federal Rule of Civil Procedure 55(b), judgment is entered
in favor of Plaintiff Chihuly, Inc. and against Defendants Echt Gallery Chicago, LLC, Echt
Gallery, Inc., and Karen Echt as follows:

      1.     Defendants, jointly and severally, are ordered to pay Plaintiff of $293,876.63 in
compensatory damages

        2.       Defendants are ordered to pay Plaintiff’s reasonable costs and attorneys’ fees.
Plaintiff is directed to file a bill of costs within 30 calendar days and a fee motion within 91
calendar days of the entry of this Order in accordance with Federal Rule of Civil Procedure 54
and Northern District of Illinois Local Rules 54.1 and 54.3.

        3.      Post-judgment interest shall accrue beginning on the date of entry of this Order
and shall be determined at a rate equal to the weekly average 1-year constant maturity Treasury
yield, as published by the Board of Governors of the Federal Reserve System, for the calendar
week preceding the date of this Order pursuant to 28 U.S.C. § 1961.




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ENTERED:



12/11/18                                            ______________________________
                                                    Jorge L. Alonso
                                                    United States District Judge




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